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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 LAURA A. YINGST                                 :            CIVIL ACTION
            Plaintiff                            :
                                                 :            18-4558
               v.                                :
                                                 :
 COATESVILLE HOSPITAL                            :
 COMPANY, LLC d/b/a Brandywine                   :
 Hospital                                        :
          Defendant                              :

                                           ORDER

       AND NOW, this 18th day of September 2020, upon consideration of Defendant Coatesville

Hospital Company, LLC’s motion for summary judgment, [ECF 30], Plaintiff’s opposition thereto,

[ECF 33], and Defendants’ reply, [ECF 36], it is hereby ORDERED that, for the reasons set forth

in the accompanying Memorandum Opinion, Defendant’s motion for summary judgment is

GRANTED. Accordingly, JUDGMENT is entered in favor of Defendant Coatesville Hospital

Company, LLC d/b/a Brandywine Hospital and against Plaintiff Laura A. Yingst.




                                           BY THE COURT:


                                           /s/ Nitza I. Quiñones Alejandro
                                           NITZA I. QUIÑONES ALEJANDRO
                                           Judge, United States District Court
